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Exhibit A

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CO|V|MONWEALTH OF MASSACHUSETTS

SUFFOLK COUNTY BOARD OF REG|STRAT|ON |N
VETER|NARY MED|C|NE

 

ln the Matter of
SHE|LA LYONS
Unlicensed

Docket No. VT-O5-046

V\_/V\/V

 

AFF|DAVIT OF SliE_ILA LYONS, DVM, |N SUPPORT
OF RESPONDENT'S MOT|ON FOR SUMMARY_QEC|S|ON

l, Sheila Lyons, DVl\/l, on oath depose and say as follows:

1. l am a resident of Brockton, Plymouth Countyl Massachusetts l
am 50 years of age. l make this affidavit in support of the Respondent's Motion
For Summary Decision filed simultaneously herewith in the above referenced
matter. The statements made by me in this affidavit are based upon my personal
knowledge unless specifically stated to be based upon information and belief and
in such case l believe the statements to be true.

2. Ellin Asack lives in Falmouth Massachusetts and is the owner of
two miniature horses. l first became professionally acquainted with Ms. Asack
when she contacted Homecoming Farm, lnc., after discussing her concerns
regarding her miniature horses with Tara Turner, a student at Tufts Veterinary
Schoo|, who gave Ellin Asack and Betsy Erickson my contact information.

3. Beginning in May of 2004, l began receiving a series of e-mail

communications from Ellin Asack. |nitia|ly, these e-mai|s were cordial and

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complimentary. However, after l terminated my relationship with Ellin Asack her
e-mails became hostile, bizarre and defamatory. They also came with increasing
frequency. Sometimes she would send and resend an e-mail as many as 50
times.

4. Following the termination of my relationship with her, Ellin Asack
also began a campaign of sending e-mail messages containing false, defamatory
and hostile accusations about me to numerous third-parties including
professional colleagues, members of the Board of Directors of Homecoming
Farm, lnc., a non-profit foundation established by me, clients, friends and, upon
information and belief, officials in the internal Revenue Service, Office of the
Massachusetts Department of Revenue, Office of the Massachusetts Attorney
General and the Boards of Registration in Veterinary l\/ledicine in the states of
Florida and Kentucky, where l am licensed to practice veterinary medicine.
These were clearly designed to harm my business and reputation and to harass
me. l would add also that in each case Ms. Asack's allegations were
investigated, found to be baseless and l was fully exonerated in each and every
instance.

5. Attached as Exhibit "A" is a true and accurate e-mail
communication sent to me by Ellin Asack on May 24, 2004 at 11:07 p.m.
concerning a complaint filed by Ellin Asack against her former veterinarian,
Doctor Dana Pantano.

6. Attached as Exhibit "B" is a true and accurate e-mail

communication l received from Deborah Baker on June 6, 2004 concerning a

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seminar l gave on the subject of rehabilitative medicine for horses which was
attended by Ellin Asack.

7. Attached as Exhibit "C" is a true and accurate copy of an e-mail
communication sent to me by Ellin Asack on June 10, 2004 at 7:30 p.m. which
was written to Doctor Kaczorowski concerning my seminar on the subject of
rehabilitative medicine and which names her as the horses veterinarian,

8. Attached as Exhibit "D" is a true and accurate copy of an e-mail
communication sent to me by Ellin Asack on June 11, 2004 at 7:59 p.m. l would
estimate | received this same e-mai| from Ms. Asack at least 50 times on the
same day and over the course of the following weeks.

9. Attached as Exhibit "E" is a true and accurate copy of an e-mail
communication sent to me by Betsy Erickson on June 13, 2004 at 10:02 p.m.
which was written by Ellin Asack to her friend and employee, Betsy Erickson.

10. Attached as Exhibit "F" is a true and accurate copy of an e-mai|
communication sent to me by Ellin Asack on June 16, 2004 at 8:38 a.m.
concerning the farrier work l performed for her free of charge and my attempts to
assist her in locating a farrier.

11. Attached as Exhibit "G" is a true and accurate copy of an e-mail
communication | received on June 21, 2004 from Lisa Dawe who had been
contacted to perform farrier work for Ellin Asack.

12. Attached as Exhibit "H" is a true and accurate copy of an e-mai|
communication which was sent by Ellin Asack to me on June 21, 2004 at

10:39 p.m. concerning the farrier work performed by Lisa Dawe.

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13. Attached as Exhibit "l“ is a true and accurate copy of an e-mail
communication l received from Lisa Dawe on June 24, 2004 concerning Ellin
Asack.

14 Attached as Exhibit "J" is a true and accurate copy of an e-mail
communication entitled "Women Who Run With Wolves" which was sent to me
by Ellin Asack on July 16, 2004 at 11:15 p.m. and repeatedly thereafter.

15. Attached as Exhibit "K" is a true and accurate copy of an e-mail
communication l received from Jane Hutton on July 18, 2004 concerning Ellin
Asack.

16. Attached as Exhibit "L" is a true and accurate copy of an e-mail
communication l received from Brandon P. Reines, DVM concerning Ellin Asack.

17. ln addition to the e-mail communications described above and
attached to this affidavit, l received literally hundreds of other e-mail
communications from Ellin Asack, many of which were copies of e-mails such as
the one titled "Women Who Run With Wolves" which led me to cease all contact
with Ellin Asack because l believed her to be emotionally troubled and unstable.
Ms. Asack also fabricated evidence by altering e-mail communications she
received from me and provided the forged documents to investigators and law
enforcement authorities as if they were genuine and had been written by me. |
also received several warnings from friends, colleagues and clients whom Ellin
Asack contacted about me, all of whom warmed me that Ellin Asack was making
false and defamatory statements about me and who, based upon these

statements, expressed concern for my personal safety and wellbeing. On one

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occasion in November of 2004, Ellin Asack disrupted a seminar | was giving at
Canterbury College in the United Kingdom by making threats about me to the
organizers of the seminar necessitating the hiring of additional security.

18. Based upon these actions, l believe she continues in her desire to
damage me in my business and reputation and, in addition to filing this false
complaint against me, is a threat to my personal safety.

siGNED this _C{_ day of Aprii 2003, under the pains and penalties of

perjury.

 

 

Sheila Lyons, DVM 15

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Exhibit A

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----- Original Message-----

From: Phototakel@aol.com [mailto:Phototakel@aol.com]
Sent: Monday, May 24, 2004 11:07 PM

To: castletoan@comcast.net

Subject: (no subject)

There is one other issue thatl suspect might be having an impact on Dr. Kazorowski.

l have filed a complaint with the Board or Registration and NlA Vet Medical Association against my
former vet. l do not have a formal lawsuit pending or a lawyer involved - although l talked to many |
found it senseless to tie the money up that my horses need now to pay a lawyer what | probably
could do better and with less confusion myself. P|us, Bayou has very litte pet value according the
laws of this state. Anyway what's most important to me is that Bayou's voice gets heard and that no
other horse go through what he did. l know of many others who have been euthanized after this vet
got through with them and l am determined to do what ever l can to stop it from happening Her
behavior did not stem from ignorance, lack of education or even human error - it was purposeful
and she is an abuser of the worst kind - believe me l spent a lot of time on all of those questions
before going forward.

l have contacted her other

clients here to tell them she is killing their horses but they stick with her and will not listen. l also
talked to a woman who would do anything for me who had left her farm to this vet in her will but she
is now taken out of it. She does not know she will not inherit it either so this can be a surprise for
her from Bayou.

lt is so hard to know the innocense of the poor horses that sufferjust so that she can make money.

The bottom line is - contrary to what all of the attorneys told me my complaint did not get thrown
out. lt has been taken very seriously and she is now paying the price for her abuse of Bayou (so of
course to me it has already been very worth it). That's all | can tell you right now except that l do
suspect that it is having an impact on how Dr. Kaczerowskl is acting at the moment. l wrote her a
long letter before we started an official vet!client relationship and spelled it out completely and also
gave her the opportunity to decline getting involved with me if this was going to cause an ethical
dilemma for her in some way since she is closely associated with my former vet. l have been up
front with her on this completely but now that someone up higher is listening - She probably thought
nothing would come of it either- and some of the changes taking place affect her practice

also ..... who knows‘? l only know what someone openly and honestly tells me, l've asked for that and
she hasn't said so perhaps l'm reading to much into it.

l will explain what ever you want in person.

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Exhibit B

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----Original Message-----

From: Debbaker8@aol.com [mailto:DebbakerB@aol.com]
Sent: Sunday, June 06, 2004 8:58 PM

To: homecomingfamiz@attbi.com

Subject: consultation

Dear Dr.. Lyons

l just returned from attending your seminar in Barnstable.N'|a. l was very excited by your
presentation, as for many years | have been aware of the importance of balance and alignment in
the horses feet and boney columns but unable to find a farrier that is willing to think out of the
box. l am the founder and President of The Hooved Animal Sanctuary a 501[0][3] rescue located
in Chelsea Vermont. l would like to be part of your project in any way possible. At present we use
a lot of alternative medicine on our equine patients. l am interested in your Animal Shelter
Medicine Course. Are you available for farm consultations'? At this point we have 5 horse that
have been " thrown away " due to a |ameness that all the vets say will never be useable . One of
these horses is a spectacular AQHA ge|ding that was successfully winning at the Naticnal leve|.
Are you available for farm consultaions? What are your fees? We could haul to you if that would
be of help to you. l can be contacted by e-mail or my phone is 817-905-6311. Thank you for your
time . Deborah Baker

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Exhibit C

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----- Original Message-----

From: Phototakel@aol.com lmailto:Phototakel@aol.com]
Sent: Thursday, June lO, 2004 7:36 PM

To: castleton2b@comcast.net

Subject: Letter to Dr. Karin

Dear Dr. Kaczorowski,

I'm sorry that you were unable to make it to the seminar on Sunday,
June 6. With people traveling from as far away as Vermont to hear Dr.
Lyons presentation we ended up with a much lager than expected turnout.
Aside from one veterinarian and farrier, the attendees were primarily
frustrated horse owners looking for answers to the same kinds of
questions that prompted me to seek Dr. Lyons' help with Bayou and
Ellie. All and all the first seminar was a huge success and we are now
in the process of planning the next one

Dr. Lyons' presentation was very informative. Horse owners left feeling
empowered with new knowledge and hope. Yet, most continue to telephone
and email us with questions about how to get their vets and farriers to
take this work and their horses' rehabilitation needs seriously. This
is a very distressing question!!?? Some of the attendees had even
offered to pay their professionals to show up. Sadly, the disinterest
on the part of local veterinarians and farriers seems to suggest a
general lack of Concern for the fact that their clients are desperately
searching for the equine preventive medicine and rehabilitation
services being developed through the work of Homecoming Farm, Inc..
Attending this seminar could have provided our local professionals with
a rare opportunity to gain a hands-on educational experience with Dr.
Lyons.

Something seems terribly wrong with the overall picture when one
realizes that even when it was offered for free so few made the effort
to gain an understanding of what in the future will only be possible to
learn through postdoctoral study. Perhaps the time has finally arrived
that the consumer must simply demand that veterinary medicine transform
into a patient/client-centered practice (much like human medicine)
rather than a service/business industry (much like an automobile
mechanic). I certainly wish you had been there so that I could hear
your input on this subject.

I believe that you would have benefited greatly by attending the
presentation. Since both Dr. Lyons, and the physiotherapist, Jane
Hutton from Great Britain, have spent a total of 5 days working
directly with Bayou and Ellie the talk included a complete overview of
their case histories. Over the past four weeks Ellie's lameness and
chronic diarrhea have disappeared completely. She is now standing
square, bearing weight evenly on all four limbs, gaining muscle tone,
repairing nerve damage and learning to walk with less of the hind-end
pivot twist that puzzled the medical team at Rochester Equine Clinic so
mysteriously. Bayou's progress has been even more remarkable. When you
see him you will surely be pleasantly surprised by the huge improvement
in his overall well being and soundness. He seems to be growing younger
everyday. Of course I am ecstatic. After all, the primary goal of the
"dedicated team effort" I initially asked you to oversee was to return
Bayou to good health after his long history of medical mismanagement.

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I assume you did not make it to the seminar because of an emergency of
some sort. However, I am confused that I have not heard from you at
all, especially since the two local horses directly benefiting from the
work of Dr. Lyons and Jane Hutton are your patients. Also, we still
have spring shots, etc., to finish up. l hope all is well with you.

Another thing I am confused about is the fact that I have never heard
back from Nick Denson. He stopped by to meet Dr. Lyons, just as you
did, during her first evaluation of Bayou and Ellie in May and said
that he was very interested in continuing to work with us on this team
effort. I have left several messages on his answering service since
then, but have heard nothing back. I hope he is okay too.

Please let me know when you can fit a Cape Cod visit for Bayou and
Ellie into your schedule.

Sincerely,

Ellin Asack

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Exhibit D

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----- Original Message-----

From: Phototakel@aol.com [mailto:Phototakel@aol.com]
Sent: Friday, June ll, 2004 7:59 PM

To: castleton2b@comcast.net

Subject: Re: the seminar and B&E

That's right! From my point of view, until things change at the most
fundamental level no animal rights group, no animal welfare group, no
special interest group, no postdoctoral program and no amount of $$$ is
going to effect and sustain the kind of major overhaul that is needed.
Not until the silence is broken in this - the worst, most secretive and
misperceived profession will the efforts of all of the above bear
fruit.

True, proof abounds that it does not work to raise the status of
animals without first raising the level of care we can provide them .
Trying to raise that bar one student at a time...!!!????????? This
would take many lifetimes to make any.significant difference to the
world at large - Even with the backing of the millions of people who
are already funding and fighting for the wrong first cause everyday.
The quickest most efficient way to get the big picture to play on the
screen once and for all is to rewind and start the show from the
beginning. The silence needs to be broken across the globe!! This calls
for full Exposure in a directly confrontational manner from a purely
educational motive with a high degree of diplomacy thrown into the mix.
The public needs to hear the whole truth (not just the small tidbits
they got during the Tufts controversy), the medical and scientific
community needs to learn what a DVM degree actually translates to

- a license to torture animals and mislead and steal from the public
who love them and protect them, this is not as difficult as it sounds,
but it will take compromise and a focussed effort between all of the
above - bridging the science / psychology gap. What makes it not so
difficult is the media - get the fire started and blazing in the right
place and there is no question it will get the oxygen it needs to level
the playing field.

Glad you mentioned HCF to Tara - I wondered at Benjamin's why you did
not go there.

OK - all you say about Josh now I wish you had said in the beginning -
I have not been through this with the farriers as you have and know
that both they and the vets should be begging and paying you for this -
I am gaining an understanding of how hard it is for you to see this and
do agree that it is 100% my responsibility to find someone who will
take this on if possible. I simply did not know even that this learning
opportunity was a possibility maybe I missed something somewhere? I was
thinking that at least with Josh we know what we have top work with and
especially you know how bad his work is - we won't know that about
someone else without seeing the horses they are trimming. And I tend to
believe that Josh's work is typical of all of Cape Cod. I've had many
of them here over the years and most have been much worse than Josh -
I'll show the pictures of Nicks work sometime. None of the other
farriers here will even return my phone calls.

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Perhaps l feel like I'm not getting a direct answer on some things
because I'm not asking a direct enough question. Are you saying that
you have the time and incentive to do something more with Dr. Cesar
(and these farriers l might be able to find) beyond working and
finishing up your farrier work with Bayou and Ellie? You really have
not been specific about this. It was my impression that on the last
trim you would spend time teaching whatever farrier or vet was
available along with Betsy and I how to keep them up and then hope that
we could when you are out of the picture, but I never considered an
option for anything beyond that. I thought the most I could hope for in
the absence of a vet and farrier was that I could learn at least

enough to keep them up when both you and Betsy are both out of the
picture. So I was a little encouraged to find Dr. Cesar and Josh at the
talk. Did I miss something?

Also, like l said before I do not understand how this is working. One
fundraiser - aprox $3800.00 and 5 days of your time plus two of Jane's
does not add up even though I know this was not even payment for
services but help for Homecoming Farms projects. I cannot afford even
one minute of your time - you know that - I need to know how this makes
sense to you. I might be missing something here too.

You need to know that I'm not disappearing. I want the upheaval to
happen ASAP or at least in my lifetime and so I'm not going to ever
stop starting fires. That is my agenda period- nothing l do to help HCF
or any other depends on what will be done for me or my animals. We will
get what we need I trust that, in turn this is what keeps us from
falling prey to the agendas of others.

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Exhibit E

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----- Original Message-----

From: Betsy ER [mailto:belsleOl@msn.com]
Sent: Sunday, June 13, 2004 10:02 PM

To: homecomingfarm@comcast.net

Subject: Fw: (no subject)

----- Original Message -----

From: Phototake1@aol.com

To: BetsyiOOt@msn.com
Sent: Sunday, June 13, 2004 8:53 PM

Subject: (no subject)

Hey Betsy,

l know that you find it hard to understand how l can "|et go" - never before have l wished so badly
that | could explain this part of me to you in terms that you can understand We have been all
through this before, many times. Still, you deserve to once again hear the only explanation in
words that l have to give.

For me - Letting go does not mean giving up. Letting go translates into nothing more than setting
free that which was being held. Letting go does not mean erasing that which has been recorded
in my memory, heart or soul. For, even the most painful of the impressions recorded have
become an essential part of my being. For me - Letting go simply means a release of the energy
created during a sort of incubation process. Whatever is being changed, released or let go of
usually needs to change or be set free. Letting go is the only choice l can make when l
consciously am aware that little will be gained by holding on, except a delay of the inevitable.

ln order for me to be able to freely let go l must accept the fact that there are influences inherent
in every situation beyond what | am capable of understanding or controlling. So tool do l realize
that there are influences inherent in my life which far exceed what | can reasonably expect
another to be capable of understanding or controlling. Love seems to me to be the only way to
bridge that gap.

My understanding of the function of a bridge is to allow freedom of movement Freedom of
movement requires a certain degree of letting go. Thusl for me Love sometimes translates into
the act of letting go.

Don't ever believe that Love is not Enoughl as some may try to prove to youlllll

l know all of this hurts you deeply. l can't change your reality. All l can say is thank God that
emotions are fluidl if it helps at all, just please try to understand my point of view on how l am
feeling right now. l truly believe that l am fully responsible for whatever pain and hurt l feel now
or ever. l truly believe that it is up to me to release myself of whatever it is that causes me
discomfort In order to do that l have to acknowledge and recognize that it was my own need that
led me to the painful lesson in the first place. Once l arrive at the destination l pursued, l can
either choose to accept and learn the lessonl or ignore it and hang on. lF l choose the latter it is
inevitable that l will have to travel the same rocky road again and feel the same hurt or pain more
deeply. Whenl arn aware l always choose to recognize that l have arrived at my destination so
that l can grow through the lessons that l sought to learn. For me Letting Go is the only way to
accomplish this.

This one is a tough onel but in time | will get through it and so will you. Bayou and Ellie are the
ones who will innocently suffer.This is so unfair to themlll lt is wrong under any circumstance or
through any motive to give them a false sense of well being. Bring them to the next level for what
reason? Just so that they have so much further to fall?

l am Or t a_ Ou pe SO l n t e erlence all me ain over these last liia-.uiy years i am
Soiw§¢§ag$¢oe¥il€£§iiét?$§§ih§°sisvaa§a§ iii §tyaus%eaiiezi easement
this way. That's the point! l could never have known that it would be you standing on the sidelines
taking the punches. What happened? Where did they all disappear to? l almost don't even
remember a time when anyone but you was actually there. Still. l know that none of this is fair to
you. l can only hope that someday you will understand. Over the years l have watched you
change and grow - you have gained enormous strength through all of this - No more fainting at
the site of blood and guts ............... right?

l have no other way to explain this to you except to say that rather than blessed with the luck of
"dodging a bullet" by going to PA the inevitable only got delayed with Bayou and Ellie. This was a
result of my choice -not your fault - not Dr. Lyons faultl but she did know all of this beforehand.
Did l have the information l needed to make the choice when l did? NO. Do l now? Yes.

There is a big diffacere between fulfilling wants and needs - l wanted More and so we all (Bayou
and Ellie too) got a glimpse of what More means as well as an understanding of how and why
that More doesn't yet exist.

Betsy, Bayou and Ellie are not better off now than they ever were. This is an illusion that neither
you nor l can sustain. There is no one else here to sustain this either-we can't ask them to live for
a future vision that has not even been established Bayou knows this instinctively. Trust what he
is telling you. Letting go does not mean giving up - most times it simply means Love. Trust and
know that what l am letting go of is nothing more than a perceived control of the outcome. Just let
go of the control and let the outcome happen as it wi|l.

Just try to step back and remember me. l was not supposed to make it or be here writing to you
now. l only got here by letting go and then once you and Heather hnally let go of your
expectations for me you found me again. Different from before. Yes. But l am here doing what
they said l would never do - who knows why or how, cares or understands? You, Heather and |
know that l am only OK as a result of a letting go process.

Sure this is a very different situation with Bayou and Ellie, but in many ways it is the same as
what happened with me.

lf you can't hear me - Please try to hear Bayou - he needs us to hear his voice again finally before
it fades again. And so does Ellie.

lt is all okay Betsy, we have both learned a lot let's just continue doing the best we can.
And don't worry about me so much, l can handle them both for the walks etc..

Ellin

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Exhibit F

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----- Original Message-----

From: Phototakel@aol.com [mailto:Phototakel@aol.com]
Sent: Wednesday, June 16, 2004 8:38 AM

To: castleton2b@comcast.net

Subject: (no subject)

Dear Dr. Lyons,

Obviously we have experienced a major communication failure across the
board. I am willing to take a large part of the blame. However, l know
I am not completely responsible for any of this and I am especially
concerned about the hurtful words you and Betsy have shared. I don't
believe that type of exchange was called for at all in face of the very
real issues that have surfaced.

I left a message on the cell phone about having a telephone
conversation to clear up whatever misunderstanding has been created. lt
does not seem that such a conversation will happen any time soon.
Still, I believe the several major differences of opinion which arose
over the course of this past week and contributed to our communication
failure should be somehow clarified. In the absence of open dialogue I
can only offer an explanation of my personal experience, I hope that by
taking the risk of trying this by email we can, at the least, avoid
further damage from occurring. Perhaps, if so, we could have a more
productive two/three way conversation at a later time. If not, who
knows where this ridiculous nonsense will lead?

An excerpt from a letter I wrote to Dr. Karin last fall: "It is
important for you to know that the single best thing Bayou's experience
has taught me is that if I wish to facilitate his return to soundness,
or at least to a reasonable degree of a "horse happy" state, I cannot
remain an inexperienced and uninformed horse owner at the mercy of his
veterinarian and farriers, especially if they are not even on the same
page. Therefore, my continued research, and professional search, is
directly related to my conclusion that returning Bayou to good health
is going to take nothing short of a dedicated team effort between open
minded individuals who are all working, step by step, towards the same
goal. What I am looking for is a local veterinarian who is as
interested as I am in getting to the root of his problems - one who is
willing to listen, observe, question, collaborate, correct or advise
and also suggest possible revisions in his treatment plan in a
connected and unbiased team effort." I was looking for something that

does not existl

Not only did you bring a glimpse of my dream into real time, you also
proved to me that at the moment what I was experiencing first hand was
strictly a vision of a possible future that has not yet arrived.

To witness the wonderful changes I have experienced with Bayou and
Ellie and to also know that these "powerful services" do not yet exist
is very overwhelming to say the least. I can't even begin to imagine
what it has been like for you to deal with such a reality on a daily
basis! Jane said something that really has hit home with me as well.
She said that the day she met you was both a blessing and a curse. I
feel exactly that same way.

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Because I happen to be in a situation where Bayou and Ellie need these
services now, their experience remains at the center of my personal
attachment to the tragedy of this reality. Yet, I am finding it
particularly difficult to resolve the conflict (between their
individual needs_and the needs of the greater whole) which this
situation raises for me. I'm sure that this must have been true for all
the others you have "helped". In many ways I understand how much easier
it is run and hide from such a tormenting conflict and wish I could do
just that.

The only one thing I have gained for certain from this experience is a
true desire to see to it that these programs do become established and
delivered through a client/patient centered perspective. I need more
time to think about how I can support this mission, as well as in what
way I feel my support can actually be most beneficial.

In the meantime, I have been convinced that outside of rescue shelters
where these services can be learned by vet students, and only if they
can be provided indefinitely, real horses and real people should not be
made a part of the equation for any reason until there are trained
professionals already in place to carry on. The only exception I can
see as acceptable would be if you were willing, had the time and a
ready and eager to learn vet and farrier standing by. And then I would
say teach them from the beginning not at the end of the fix. It is you,
yourself, who has successfully convinced me that the mission makes all
the sense in the world - it is the way the mission is being carried out
that makes no sense at all. Even by releasing my personal attachment
(getting Bayou and Ellie's immediate needs met) I still find myself
committed to that bigger picture.

Even if they are of a breed that should be "abolished" it was wrong to
allow them to participate in the experience of this blessing/curse.

If you want or are ready to hear any more feedback from me about the
ways I believe that my help could be offered in a more beneficial way -
you know how to reach me. Actually I believe that without resolution
there is nowhere else for this "ridiculous nonsense" to lead but back
to where we started from - everyone says they want to help/learn and
then they disappear when they get to the hard part - If you challenge
their egos, all you get from veterinarians is silence and more animal
suffering.

Psychotic? Yes! But the worldview as it is was not created by your,
Betsy's or my psychosis.

Ellin

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Exhibit G

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----- Original Message-----

From: Fablewood@att.net [mailto:Fablewood@att.net]
Sent: Monday, June 21, 2004 7:13 PM

To: dr. sheila lyons

Subject: Re: amazing!

 

Hello Again,

Well, I just got off the phone a few minutes ago. Ellin and I talked
for about an hour. She went on about her feeling that things have
changed-- lack of follow up exams, photos, treatment protocol...anyway,
I told her, "based on all you have told me I am not comfortable
continuing..." She kept trying to talk me into finishing the back
feet, but I told her that you said you had worked the back feet more
aggressively and once I did the back feet she'd be in the same position
she is in now. Praise God she didn't cry on the phone with mel She's
not happy to say the least, but I wanted you to know that I did not
tell her I had just got off the phone with you. She did ask me if I
had any contact with you, and I said I would assume that you would
return e-mail and phone calls, but did not let her know that you had
done just that only minutes before. I don't *think* I painted you in a
bad light even though you said I could. I put it all on her lack of
confidence being a bad place to put my confidence, and that if she
feels the protocol could change at any time I couldn't take that on. I
let her know that I was also too busy to make her horses the priority
they would need to be and that my husband also did not want me to
continue (all which is true). I will also warn you that I encouraged
her to talk with you about her questions and that they may be just mis-
communications. I also let her know that she could let Josh know that
I basically follow Gene Ovenicek and the importance of not Scooping out
sole. I feel bad for her and know I could help, but at what personal
cost? I have spent the past couple of hours dealing, not with the
pathology of her horses feet, but in dealing with the pathology of her
drama. And this letter to you is starting to read like "He said; She
said!" I look forward to receiving the pictures you have for me (and
getting a knife like yours!!) I'd also like to read any of the
articles you have written as well as info about Homecoming Farm and the
clinic you were telling me about where you get to start with the
yearlings. I have very much enjoyed meeting you and look forward to
continuing our friendship. Lisa

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Exhibit H

Case 1:11-cv-12192-WGY Document 33-1 Filed 09/17/12 Page 26 of 44

----- Original Message-----

From: Phototakel@aol.com [mailto:Phototake1@aol.com]
Sent: Monday, June 21, 2004 10:39 PM

To: castleton2b@comcast.net

Subject: Lisa Dawe

Dear Dr. Lyons,

Granted, l liked Lisa very much when l spoke to her (sti|l do) and became very hopeful again, but in no
way was l informed or prepared for yesterdays complete course of events. Just as l believe that in no way
was l informed or prepared for the course of events which transpired over the past two weeks. When l
asked if it was something l did or said that made her feel that way (by admitting that l felt just as
uncomfortable as she did but am willing to work through this with her), she reminded me that her first
project is being a mommy and that not only is she not prepared to take on any more clients - her husband
also objects. She said she does not feel "prepared to take on horses that need the level of care that B&E
need and my expectations that B&E must be a priority for her*'l not even if she does her own trim which |
tried to get her to at the least agree to do for their back hoofs in the interim. The appointment we made
this morning for tomorrow morning was just canceled because her husband objected to her involvement
at all and she suggested that | contact you for guidance and Josh to suggest that she could teach him her
method of hoof trimming.

Maybe l was more honest with her than l should have beenl but l truly doubt anything l actually had to
say changed the fact that her family comes first and once she thought about it she decided she simply
could not take B&E on even if they didn't need more than the 45 min trim she gives every four weeks.

l'm sorryl but l am totally confused

Nothing in your last email to me (5!16)'04 - Lisa Dawe 759-4670) indicated that you would be bringing Lisa
here for anything more than an introduction and discussionflearning session if all was OKAY after the
discussionl Nothing in that email indicated to me that Lisa (not you) would be doing the trim on her own
and learning on only half of each horse. Nothing in that email indicated to me that thefarrier standards
were being changed or lowered Nothing in that email or any other email ever indicated that anyone (vet,
farrier or other) would ever be left with corrective work (farrier or other version). Nothing in that email
indicated to me that Lisa alone would be left to take over where you left off. in fact, l really did not know
for sure that you were even still coming since your email indicted that the plans were "tentative". Nothing
in that email or in my discussion with Lisa indicated that she would be brought here to learn and l would
be asked to pay her for her learning even though l agreed not only to pay her, but also to work this with
her in any way possible including just doing the trim she is most comfortable with.

l truly want to believe that all of this is just a result of one dedicated Dr. spread far too thin trying to help 2
mini's and one inexperienced person trying to do the best she can for 2 horses she has no business even
having trying to accomplish the impossible and then ending up completely misunderstanding each other. l
never gave up for a minute, all l did was let go of my attachment to having Bayou and Ellies needs met by
you. Then when it seemed that your nnding Lisa was "heaven sent" l let myself give in to a sense of false
hope again. No matter what l want to believe, l know that this is simply all wrong. Nothing l have said or
done, nothing Lisa can or can't do is wrong.

| let myself think that you were different that Dr Dana and Dr K and all the rest of the Tufts vets who were
exposed to torture animals for their own selfish benefits and

motives.

You must know that l will never stop setting fires against the profession that says it loves and protects
but only betrays the animals it uses for its own selfish beneht.

You should have know better but your arrogance must be stopped

l believe that l have made every effort to be clear and honest in communication with you over the last two
weeks. Yet, once again we have been left with much confusion. l will let you be the confused one now.

Ellin

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Exhibit I

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----- Original Message-----

From: Fablewood@att.net [mailto:Fablewood@att.net]
Sent: Thursday, June 24, 2004 10:49 AM

To: dr. sheila lyons

Subject: Hoof knife and Button

Hello,

I have been unable to find Frank Ringer online, nor any info on his
knife. If you have any more "leads" to help me find it that would be
great. I trimmed Button's front feet yesterday and walked her yesterday
and today. She is sound on grass (uphill, down and flat) and does well
uphill and flat on pavement and walking in my sand arena (though
obviously not completely sound). Downhill on pavement and heaven
forbid! on gravel, she is stumbly and I feel so bad for her. I put her
boots on in the paddock because she is very reluctant to walk
otherwise. This "ouchy-ness" is not brand new, as I told you she came
to me somewhat unsound. It is a bit worse for the week after she is
trimmed, generally speaking. When I trimmed her yesterday, I was VERY
careful doing her sole and watching the frog/sole connection as my
marker. Once again I did this work with my bare hands (no gloves) so I
could really feel the contour. I also cut about 1/3 off her heels
which was about 1/2 inch but will continue to work on them weekly. My
mare's going to have to wait until next week. I got a call from Ellin
yesterday moning and an e-mail today. My were not scathing, which is a
nice change. She was actually very good on the phone and had no
problem with getting me the diagrams or sending me a check. She just
wanted my advice on where to go from here and I basically suggested
that both she and Josh get the Gene O. videos and see what they can
learn. (I learned alot from him and thought it a good place to start
and the same as the trim you were doing and recommending.) I
encouraged her to know that the horses simply need to be maintained,
and the bulk of the external changes have been taken care of by your
farrier work and she seemed to appreciate this. I also said she could
call me in 3-4 months to have me give her my opinion (I know, I know--
full can of worms here!). She seemed comfortable with my withdrawl
from the situation, and understanding of my need to be a Mom first--a
little different that what you gotl Maybe she's decided to accept the
inevitable. Maybe she also finally sees that her horses just need to
be trimmed well and often enough. Anyway, I'd be interested in your
comments about Button's feet (I took picture with the regular camera,
so it will take me a few days to get pictures to you if your
interested). And advice on where to find that knife! Take Care, Lisa

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Exhibit J

Case 1:11-cv-12192-WGY Document33-1 Filed 09/17/12

----- Original Message-----

From: Phototakel@aol.com [mailto:Phototakel@aol.com]
Sent: Friday, July 16, 2004 11:15 PM

To: homecomingfarm@comcast.net

Subject: have I told you lately

Women Who Run With the Wolves

 

Excerpts from the book by Clarissa Pinkola Estés,
Ballantine Books, New York, 1992

He who cannot howl, will not find his pack.
- Charles Simic

Chapter Guide:

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<http://www.elexion.com/lakota/textos/#intro> Introduction - Singing

Over the Bones

<http://www.elexion.com/lakota/textos/#l> Chapter l - The Howl:

Resurrection of the Wild Woman

<http://www.elexion.com/lakota/textos/#Z> Chapter 2 - Stalking the

Intruder: The Beginning Initiation

<http://www.elexion.com/lakota/textos/#3> Chapter 3 - Nosing Out the

Facts: The Retrieval of Intuition as Initiation

<http://www.elexion.com/lakota/textos/#4> Chapter 4 - The Mate: Union

With the Other

<http://www.elexion.com/lakota/textos/#B> Chapter 5 - Hunting: When

the Heart is a Lonely Hunter

<http://www.elexion.com/lakota/textos/#G> Chapter 6 - Finding One's

Pack: Belonging as Blessing

<http://www.elexion.com/lakota/textos/#7> Chapter 7 - Joyous Body: The

Wild Flesh

<http://www.elexion.com/lakota/textos/#S> Chapter 8 ~ Self-
preservation: Identifying Leg Traps, Cages and Poisoned Bait
<http://www.elexion.com/lakota/textos/#9> Chapter 9 - Homing:

Returning to Oneself

<http://www.elexion.com/lakota/textos/#lO> Chapter 10 - Clear Water:

Nourishing the Creative Life

<http://www.elexion.com/lakota/textos/#ll> Chapter ll - Heat:

Retrieving a Sacred Sexuality

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<http://www.elexion.com/laketa/textos/tlZ> Chapter 12 - Marking
Territory: The Boundaries of Rage and Forgiveness

<http://www.elexion.com/laketa/textos/#lJ> Chapter 13
Membership in the Scar Clan

 

Battle Scars:

 

 

<http://www.elexion.com/lakota/textos/#l4> Chapter 14 - La Selva
Subterranea: lnitiation in the Underground Forest
<http://www.elexion.com/lakota/textos/#lB> Chapter 15 - Shadowing:

 

Canto Hondo, The Deep Song

From the Introduction - Singing Over the Bones The archetype of Wild
Woman resides in the guts, not in the head. She can track and run and
summon and repel. She can sense, camouflage, and love deeply. She is
intuitive, typical, and normative. She is utterly essential to women's
mental and soul health. She is the female soul. Yet she is more; she is
the source of the feminine. She is all that is of instinct, of the
worlds both seen and hidden -she is the basis. She is intuition, she is
far-seer, she is deep listener, she is loyal heart. She encourages
humans to remain multilingual; fluent in the languages of dreams,
passion, and poetry. She is the voice that says, "This way, this way."

She is the one who thunders after injustice. She is the one we leave
home to look for. She is the one we come home to. She is the things
that keep us going when we think that we're done for.

To adjoin the instinctual nature does not mean to come undone, change
everything from left to right, from black to white, to move the east to
west, to act crazy or out of control. lt does not mean to lose one's
primary socializations, or to become less human. lt means quite the
opposite. The wild nature has a vast integrity to it.

lt means to establish territory, to find one's pack, to be in one's
body with certainty and pride regardless of the body's gifts and
limitations, to speak and act in one's behalf, to be aware, alert, to
draw on the innate feminine powers of intuition and sensing, to come
into one's cycles, to find what one belongs to, to rise with dignity,
to retain as much consciousness as we can.

From Chapter 1 - The Howl: Resurrection of the Wild Woman La Loba
(Wolf Woman), the old one, the One Who Knows, is within us. She thrives
in the deepest soul-psyche of women, the ancient and vital Wild Woman.
She describes her home as that place in time where the spirit of women
and the spirit of wolf meet -the place where her mind and her instincts
mingle, where a woman's deep life funds her mundane life. lt is the
point where the l and the Thou kiss, the place where women run with the
wolves.

The Creation Mother is always the Death Mother and vice versa. Because
of this dual nature, or double-tasking, the great work before us is to
learn to understand what around and about us and what within us must
live, and what must die. Our work is to apprehend the timing of both;
to allow what must die to die, and what must live to live,

You can dent the soul and bend it. You can hurt it and scar it. You can
leave the marks of illness upon it, and the scorch marks of fear. But

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it does not die, for it is protected by La Loba in the underworld. She
is both the finder and the incubator of the bones.

People do meditation to find psychic alignment. That's why people do
psychotherapy and analysis. That's why people analyze their dreams and
make art. That is why many read Tarot cards, cast l Ching, dance, drum,
make theater, pry out the poem, and fire up the prayer. That's why we
do all the things we do. lt is the work of gathering all the bones
together. Then we must sit at the fire and think about which song we
will use to sing over the bones, which creation hymn, which re-creation
hymn. And the truths we tell will make the song.

There are some good questions to ask till one decides on the song,
one's true song:

What has happened to my soul-voice?

What are the buried bones of my life?

ln what condition is my relationship to the instinctual Self?

When was the last time l ran free?

How do l make life come alive again?

Where has La Loba gone to? Go back and stand under that one red flower
and walk straight ahead for that last hard mile. Go up and knock on the
old weathered door. Climb up to the cave. Crawl through the window of a
dream. Sift the desert and see what you can find. lt is the only work
we have to do.

You wish psychoanalytic advice?
Go gather bones.

From Chapter 2 - Stalking the lntruder: The Beginning lnitiation All
creatures must learn that there exist predators. Without this knowing,
a woman will be unable to negotiate safely within her own forest
without being devoured. To understand the predator is to become a
mature animal who is not vulnerable out of naiveté, inexperience or
foolishness.

A predatory person misappropriates a woman's creative juice, taking it
for their own pleasure or use, leaving her whitened and wondering what
happened, while they themselves somehow grow more rosy and hearty.

The pattern of surrendering one's core life may have begun in
childhood, fostered by caretakers who wanted the child's gifts and
loveliness to augment the caretakers' own emptiness and hunger.
Generally, a woman with good instincts knows the predator is insinuated
nearby when She finds herself involved in a relationship or situation
that causes her life to become smaller rather than larger.

Many women have literally lived the Bluebeard tale. They marry while
they are yet naive about predators, and they choose someone who is
destructive to their lives. They are determined to "cure" that person
with love. They are in some way "playing house." One could say that
they have spent much time saying, "His beard isn't really so blue."

While it may be the woman's actual mate who denigrates and dismantles
her life, the innate predator within her own psyche concurs. As long as
a woman is forced into believing that she is powerless and/or is

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trained to not consciously register what she knows to be true, the
feminine impulses and gifts of her psyche continue to be killed off.

The deceitful promise of the predator is that the woman will become a
queen in some way, when in fact her murder is being planned. There is a
way out of all this, but one must have a key.

The key is both permission and endorsement to know the deepest, darkest
secrets of the psyche, in this case the something that mindlessly
degrades and destroys a woman's potential.

Asking the proper question is the central action of transformation -in
fairy tales, in analysis, and in individuation. Questions are the keys
that cause the secret doors of the psyche to swing open.

Where do you think that door is, and what might lie beyond it?

What is behind the visible?

What is it which causes that shadow to loom upon the wall?

What is not as it appears?

What do l know deep in my ovaries that l wish l did not know?

What of me has been killed, or lays dying? Those who would develop
consciousness pursue all that stands behind the readily observable: the
unseen chirping, the murked window, the lamenting door, the lip of
light beneath a sill. They pursue these mysteries until the substance
of the matter is laid open to them.

lnstead of reviling the predator of the psyche, or running away from
it, we dismember it.

We dismantle the predator by countering its diatribes with our own
nurturing truths. Predator: "You never finish anything you Start."
Yourself: "l finish many things." We dismantle the assaults of the
natural predator by taking to heart and working with what is truthful
in what the predator says and then discarding the rest. We dismantle
the predator by maintaining our intuitions and instincts and by

resisting the predator's seductions.

When we refuse to entertain the predator, its strength is extracted and
it is unable to act without us. When the predator's psychic energum is
rendered, it is formable to some other purpose. We are the creators
then; the raw substance reduced down, it becomes then the Stuff of our
own creation.

The predator's rage can be rendered into a soul-fire for accomplishing
a great task in the world. The predator's craftiness can be used to
inspect and understand things from a distance. The predator's killing
nature can be used to kill off that which must properly die in a
woman's life, or what she must die to in her outer life.

From Chapter 3 - Nosing Out the Facts: The Retrieval of lntuition as
Initiation To possess good intuition, goodly power, causes work. lt
causes work firstly in the watching and comprehending of negative
forces and imbalances both inward and outward. Secondly, it causes
striving in the gathering up of will in order to do something about
what one sees, be it for good, or balance, or to allow something to
die.

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l will not lie to you; it is easier to throw away the light and go to
sleep. For with it, we clearly see all sides of ourselves and others,
both the disfigured and the divine and all conditions in between.

Yet, with this light the miracles of deep beauty in the world and in
humans come to consciousness. With this penetrating light one can see
past the bad action to the good heart, one can espy the sweet spirit
crushed beneath hatred, one can understand much instead of being
perplexed only. This light can differentiate layers of personality,
intention, and motives in others. lt can determine consciousness and
unconsciousness in self and others. lt is the wand of knowing. lt is
the mirror in which all things are sensed. lt is the deep wild nature,

Yet, there are times when its reports are painful and almost too much
to

bear: for it also points out where there are betrayals brewing, where
there is faintness of courage in those who speak otherwise. lt points
out envy lying like cold grease behind a warm smile; it points out the
looks which are mere masks for dislike. As regards to oneself, its
light is equally

bright: it shines on our treasures and on our foibles.

The way to maintain one's connection to the wild is to ask yourself
what is it that you want. One of the most important discriminations we
can make in this matter is the difference between things that beckon to
us and things that call from our souls.

We choose a thing because it just happened to be beneath our noses at
that moment in time. lt is not necessarily what we want, but it is
interesting, and the longer we gaze at it, the more compelling it
becomes.

When we are connected to the instinctual self, to the soul of the
feminine which is natural and wild, then instead of looking over
whatever happens to be on display, we say to ourselves, "What am l
hungry for?" Without looking at anything outwardly, we venture inward
and ask, "What do l long for? What do l wish for now? What do l crave?
What do l desire? For what do l yearn?"

lt takes spirit, will, and soulfulness and it often means holding out
for what one wants.

From Chapter 4 - The Mate: Union With the Other lf women want men to
know them, really know them, they have to teach them some of the deep
knowing. Some women say they are tired, already have done too much in
this area. l humbly suggest they have been trying to teach a man who
does not care to learn. Most men want to know, want to learn. When men
show that willingness, then it is the time to reveal things: not just
because, but because another soul has asked.

To win the wildish woman's heart, a mate would understand her natural
duality through and through. Anyone close to a wildish woman is in fact
in the presence of two women; an outer being and an interior criatura,
one who lives in the topside world, one who lives in the world not so
easily seeable. The outer being lives by the light of day and is easily
observed. She is often pragmatic, acculturated, and very human. The

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criatura,

appearing and then as quickly disappearing,

however, often travels to the surface from far away, often

yet always leaving behind a

feeling: something surprising, original, and knowing.

A woman has tremendous powers when the individual dual aspects are
consciously recognized and beheld as a unit; held together rather than

kept apart. The Power of Two is very strong and neither
duality should be neglected. They need be fed equally,

side of the
for together

they bring an uncanny power to the individual.

From Chapter 5 - Hunting: When the Heart is a Lonely Hun

ter There are

seven tasks that teach one soul to love another deeply and well:
Discovering another person as a kind of spiritual treasure.

The chase and the hiding, a time of
The untangling and understanding of
relationship and the compassion for
Relaxing into trust, the ability to
of the other.

Sharing both future dreams and past
The use of the heart to sing up new
The intermingling of body and soul.
Pack:

Belonging as Blessing The wild nature,

hopes and fears for both.

the Life/Death/Life aspects of the
the task.

rest in the presence and goodwill

sadness.
life.
From Chapter 6 - Finding One's

when pressed into circumstances

of little nurture, instinctively strives to continue no matter what.

The wild nature instinctively holds

on and holds out, sometimes with

style, other times with little grace, but holds on nevertheless.

Even though we have only heard or seen or dreamt a wondrous wild world
that we belonged to once, even though we have not yet or only

momentarily touched it,

even though we do not identify ourselves as

part of it, the memory of it is a beacon that guides us toward what be

belong to,

and for the rest of our lives.

What is the basic nutrition for the soul? Well, it differs from
creature to creature, but here are some combinations. Consider them

psychic macrobiotics. For some women air,

are necessities. For others, words,

things that satiate. For others, color, form,
bow,

absolutes. Some women must leap,

night, sunlight, and trees
and books are the only

shadow, and clay are the
for their souls crave

Paperi

and run,

dance. Yet others crave only a tree-leaning peace.

From Chapter 7 - Joyous Body: The Wild Flesh The cultural power of

the body is its beauty,

but the power in the body is rare, for most

have chased it away with their torture of or embarrassment by the

flesh.

There is no "supposed to be" in bodies.
or even having two of everything, for some do
does this body feel, does it have right

to heart, to soul, to the wild? Does it have
thrust?

shape or years of age,
not. But the wild issue is,
connection to pleasure,

happiness, joy? Can it in it own way move, dance, jiggle, sway,

Nothing else matters.

The question is no size of

From Chapter 8 - Self-preservation: Identifying Leg Traps, Cages and

Poisoned Bait When she is starved,

offered, including those that, like placebos, do absolutely no
as well as destructive and life-threatening ones that hideously

her,

a woman will take any substitutes

thing for

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surface of our consciousness and begins to incessantly call us back to
our true natures.

lt is a profound feature of the wild psyche that if we do not come on
our own, if we aren't paying attention to our own seasons and the time
for return, the Old One will come for us, calling and calling until
something in us responds.

Since the psyche is a complete system, all its elements resonate to the
call. A woman's restlessness during this time is often accompanied by
irritability and a sense that everything is much too near for comfort,
or far too far for peace. She feels anywhere from a bit to a lot
"lost", for She has stayed too long from home. These feelings are just
the right feelings to feel. That feeling of being torn comes from
hearing, consciously or unconsciously, something calling us, calling us
back, something that we cannot say no to without hurting ourselves.

Home is where a thought or feeling can be sustained instead of being
interrupted or torn away from us because something else is demanding
our time and attention.

Home is a sustained mood or sense that allows us to experience feelings
not necessarily sustained in the mundane world: wonder, vision, peace,
freedom from worry, freedom from demands, freedom from Constant
clacking.

Home is the pristine instinctual life, where all is as it should be,
where all the noises sound right, and the light is good, and the smells
make us feel calm rather than alarmed.

From Chapter 10 - Clear Water: Nourishing the Creative Life lf you
want to kill something, just be cold to it. As soon as one becomes
frozen in feeling, thinking, or action, relationship is not possible.
When humans want to abandon something in themselves or leave someone
else out in the cold, they ignore them, disinvite them, leave them out,
go out of their way to have to even hear their voice or lay eyes upon
them.

To lose focus means to lose energy. The absolutely wrong thing to
attempt when we've lost focus is to rush struggling to pack it all back
together again. Rushing is not the thing to do. Sitting and rocking is
the thing to do. Patience, peace, and rocking renew ideas. Just holding
the idea and the patience to rock it are what some women might call a
luxury. Wild Woman says it is a necessity.

lf you've lost your focus, just sit down and be still. Take the idea
and rock it to and fro. Keep some of it and throw some away, and it
will renew itself. You need do no more.

Whether our focus is on self-development, world issues, or relationship
doesn't matter, the animus will wear down. lt is not a matter of if, it
is a matter of when.

Wild Woman expects that the animus will wear out on a regular basis.
She is not shocked that he falls through her door. She is not shocked
when we fall through the door. She is ready. She will not rush to us in

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a panic. She will just pick us up and hold us till we regain our power
again.

A powerful way of renewing or strengthening one's intention or action
that has become fatigued is to throw some ideas away, and focus.

Focusing is the use of all our senses, including our intuition.

From Chapter 11 - Heat: Retrieving a Sacred Sexuality A woman's heat
is not a state of sexual arousal but a state of intense sensory
awareness that includes, but is not limited to, her sexuality.

The sacred and the sensual live very near one another in the psyche,
for they are all brought to attention through a sense of wonder, not
from intellectualizing but through experiencing something through the
physical pathways of the body, something that for the moment or
forever, whether it is a kiss, a vision, a belly laugh, or whatever,
changes us, shakes us out, takes us to a pinnacle, smooths out our
lines, gives us a dance step, a whistle, a true burst of life.

When the laughter helps without doing harm, when the laughter lightens,
realigns, reorders, reasserts power and strength, this is the laughter
that causes health. When the laughter makes people glad they are alive,
happy to be here, more conscious of love, heightened with eros, when it
lifts their sadness and severe them from anger, that is sacred. When
they are made bigger, made better, more generous, more sensitive, that
is sacred.

From Chapter 12 - Marking Territory: The Boundaries of Rage and
Forgiveness Rage corrodes our trust that anything good can occur.
Something has happened to hope. And behind the loss of hope is usually
anger; behind anger, pain; behind pain, usually torture of one sort or
another, sometimes recent, but more often from long ago.

The orphaned dead of the psyche are the creative thoughts and words and
ideas in a woman's life that have suffered premature death, and that
deeply contribute to her rage. ln a way, one could say that rage is the
result of ghosts not laid properly to rest.

Although some people claim they can create out of their chronic rage,
the problem is that rage confines access to the collective unconscious
-that infinite reservoir of imaginal images and thoughts- so that the
person creating out of rage tends to create the same thing over and
over again, with nothing new coming through. Untransformed rage can
become a constant mantra about how oppressed, hurt, and tortured we
were.

Release yourself from the illusions that the present is an exact and
calculated replay of the past.

To truly heal we must say our truth, and not only our regret and pain,
but also what harm was caused, what anger, what disgust, and also what
desire for self-punishment or vengeance was evoked in us.

lt is possible to maintain a kind of pressure gauge for one's emotional
life, and one can be fierce and generous at the same time. One can be
reticent and valuable. One can protect one's territory, make one's

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boundaries clear, shake the sky if need be, yet be available,
accessible, engendering at the same time.

Most women can feel the slightest change in someone else's temperament,
can read faces and bodies -this being called intuition- and often from
a plethora of tiny clues that coalesce to give her information she
knows what is on their minds. ln order to use these wild gifts, women
remain open to all things. But it is this very openness that leaves
their boundaries vulnerable, thereby exposing them to injuries of
spirit.

lf a woman is instinct-injured, she often has a problem with intrusion
recognition; she is slow to notice territory violations and does not
register her own anger until it is upon her.

Typically such women do not act upon their rage at the right time,
perhaps jumping the gun, or having a delayed reaction weeks, months, or
even years later, realizing what they should have, could have, would
have said or done. This is usually not caused by shyness or
introversion but by too much thinking, too much trying to be nice, and
not enough acting from soul.

lnjured instinct must be arighted by practicing and enforcing strong
boundaries and by practicing firm and, when possible, generous
responses, but solid ones nevertheless.

ln her instinctual psyche, a woman has the power, when provoked, to be
angry in a mindful way -and that is powerful. Anger is one of her
innate ways to begin to reach out to create and preserve the balances
she holds dear, all that she truly loves. lt is both her right, and at
certain times and in certain circumstances, a moral duty.

There is much need and place for rightful and clear anger, especially
when previous calls to consciousness have been made anywhere from
dulcet to moderate tones of voice and have gone unheard. Anger is the
next step in the hierarchy of calling attention.

Sometimes people become confused and think that to be stuck in an
outdated rage means to fuss and fume and to act out and toss and throw
things. lt does not mean that in most cases. lt means to be tired all
the time, to have a thick layer of cynicism, to dash the hopeful, the
tender, the promising. lt means to be afraid you will lose before you
open your mouth. lt means to reach flashpoint inside whether you show
it on the outside or not. lt means bilious entrenched silences. lt
means feeling helpless. But there is a way out, and it is through
forgiveness.

Nothing that a human may have done, is doing, or might do, is outside
the bounds of forgiveness. Nothing.

Forgiveness is an act of creation. You can choose from many ways to do
it. You can forgive for now, forgive till then, forgive till the next
time, forgive but give no more chances -it's a whole new game if there
is another incident. You can give one more chance, give several more
chances, give many chances, give chances only if. You can forgive part,
all, or half of the offense. You can devise a blanket of forgiveness.
You decide.

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The Four Stages of Forgiveness:

To Forego - To leave it alone, not to overlook but to become agile and
strong at detaching from the issue.

To Forbear - To abstain from punishing. To have patience, to bear up
against, to channel emotion. To practice generosity.

To Forget - To avert from memory, to refuse to dwell. To forget is an
active, not a passive, endeavor. Conscious forgetting means willfully
dropping the practice of obsessing, intentionally outdistancing and
losing sight of it, not looking back, thereby living in a new
landscape, creating new life and new experiences to think about instead
of the old ones.

To Forgive - To abandon the debt. lt is a conscious decision to cease
to harbor resentment, which includes forgiving a debt and giving up
one's resolve to retaliate. How does one know if one has forgiven? You
tend to feel sorrow over the circumstances instead of rage, you tend to
feel sorry for the person rather than angry with him. You tend to have
nothing left to remember to say about it all. You understand the
suffering that drove the offense to begin with. You prefer to remain
outside the milieu. You are not waiting for anything. You are not
wanting anything. There is no lariat snare around your ankle stretching
from way back there to here, You are free to go. lt may not have turned
out to be a happily ever after, but most certainly there is now a fresh
Once upon a time waiting for you from this

day forward. From Chapter 13 - Battle Scars: Membership in the Scar
Clan

lt is good to remember that in tensile strength and ability to absorb
pressure, a scar is stronger than skin.

Tears are a river that take you somewhere.

Tears make us conscious. There is no chance to go back to sleep when
one is weeping. Whatever sleep comes then is only rest for the physical
body.

The Scar Clan - that timeless tribe of women who down through the ages
have lived through a great something, and yet who stood proud.

Most often we wound others where, or very close to where, we have been
wounded ourselves.

From Chapter 14 - La Selva Subterranea: lnitiation in the Underground
Forest One of the most basic things that mediate between the world of
soul and the world of matter is that many things that present
themselves to us are not as they seem upon first contact.

lf, in our modern societies, the hands of the ego must be sundered in
order to regain our wild office, our feminine senses, then go they must
in order to take us away from all seductions of meaningless things
within our reach, whatever it is that we can hold on to in order not to
grow.

lt is a psychic fact that when one has given birth to a beautiful thing
something mean will also arise, even if only momentarily, something
that is jealous, lacks understanding, or shows disdain.

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Nurture is absolutely essential to the journey, and in substantial
amounts. ln fact, if it is not present in adequate amounts, the seeker
will lose energy, fall into depression, and fade to a whisper.

lnitiation is the process by which we turn from our natural inclination
to remain unconscious and decide that, whatever it takes -suffering,
striving,

enduring- we will pursue conscious union with the deeper mind, the wild
Self.

From Chapter 15 - Shadowing: Canto Hondo, The Deep Song The word
reclamation is derived from the old French reclaimer, meaning "to call
back the hawk which has been let fly."

So what is the point of this reclamation and focus, this calling back
of the hawk, this running with the wolves? lt is to go for the jugular,
to get right down to the seed and to the bones of everything and
anything in your life, because that's where your pleasure is, that's
where your joy is, that's where a woman's Eden lies, that place where
there is time and freedom to be, wander, wonder, write, sing, create,
and not be afraid.

Back to <http://www.elexion.com/lakota/textos/textosZ.htm> The Wisdom
Garden

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Exhibit K

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----- Original Message-----

From: JANE HU'lTON [mailto:janeandrobhutton@btinternet.com]
Sent: Sunday, July 18, 2004 10:54 AM

To: dr. sheila lyons

Subject: Hi

Dear Sheila

Hope you arrived safely in Gennany & that all is going well. A good break from the madness in
USA.

Just to let you know that unless you would specifically wish othenivise l am not acknowledging
any correspondencefvideo from Ellin. As you know l spoke to her new vet & unless you feel
otherwise l think that is the most appropriate response to ail her madness. |f you would like me to
respond to her direct then please say & l willl but she is renting and raging against you Sheila and
we feel threatened at this point if l respond in any way that she disagrees with. And that is the
only resonse l could give.

We have just booked a break in Dubaill Really sorry you won't be there at the same time, but we
are going to go from Sth Oct - 18th Oct & staying in the One & Only Royal Mirage - The Palace. l
arn really excited and can't wait for some sun. lt hasn't stopped raining hardly for what feels like
weeks & is really depressing!

Would you be happy to do a half day‘s talk in Nov - not full day? lt would be Sat 13th probably
the whole morning with a coffee break. l know you are busy in Germany then Athens for a while
but after that when you have a minute to think about it you could send me a copy of the hand out
you would like to give and we would get ACPAT to copy it & print it for the course booklet so you
didn't have to bring any of that over with you. We can also discuss in more detail what you would
feel comfortable in presenting. As it would only be half a day it could all be in the lecture theatre.
Anyway don't worry about any of that now but we will have a talk about it when you have more
time.

Really really hope you are feeling better Sheila and that being away from it all and doing
rewarding proper work helps restore your equilibrium.

Oh yes, really exciting news. My sister rang last night and she and her partner have got engaged
- so just waiting for a date (probably next year) & we will all be off to New Zealand for a short
break for the wedding. l really, really liked him when l met him so am truly delighted for them
both.

All for now.

Love from Jane

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Exhibit L

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----- Original Message-----

From: Reines, Brandon (NlH/NIAID)

Sent: Wednesday, November 24, 2004 6:55 PM
To: 'dr. sheila lyons'

Subject: RE: gratitude

Hey Sheila,

Hope you get a little something to chaw on tommorrow. Got a wacko note
from an Ellin Asack, addressed to me as a title that is too bizarre to
even figure out, related to Homecoming farm or some farrier work you
did? The tone sounds like an upset pet owner. l've gotten some real
doozers which someday maybe l'll write up because they're pretty funny.
This one sounded threatening though so l hope you are okay. Have a
decent one,

Brandon P. Reines, DVM

T-cell Tolerance and Memory Section

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